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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiffs,                              4:12CR3114
      vs.
                                                         DETENTION ORDER
WILLIAM WHITEHOUSE,
                     Defendant.


      The defendant was afforded an opportunity for a hearing, but is currently being
held in state custody on related charges, and he agreed to waive his right to a detention
hearing. The defendant has therefore failed to meet the burden of showing, by clear and
convincing evidence pursuant to 18 U.S.C. § 3143 (a) and Fed. R. Crim. P. Rule
32.1(a)(6), that defendant will appear at court proceedings and will not pose a danger to
the safety of any person or the community if released.
      Accordingly,
      IT IS ORDERED:
      1)     The defendant shall be returned to state custody for confinement on state
             charges.
      2)     Upon release from state custody, the U.S. Marshal is commanded to take
             custody of the above-named defendant for further proceedings in this court.

      February 18, 2015.

                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
